                                                                                     Motion GRANTED.


                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )       No 3:09-00215-5
       v.                                          )
                                                   )       JUDGE TRAUGER
MEGAN JEDELE                                       )


               MOTION TO DISMISS OF SUPERSEDING INDICTMENT
                        AS TO DEFENDANT JEDELE

       Comes now the United States, by and through Assistant U.S. Attorney Lynne T. Ingram,

and moves to dismiss without prejudice the charges against Megan Jedele in the Superseding

Indictment filed on April 8, 2010. Defendant Jedele pled guilty to a related Criminal Complaint

in Case No. 11-2036-MK and was sentenced by Judge E. Clifton Knowles on July 28, 2011.



                                            Respectfully submitted,

                                            JERRY E. MARTIN
                                            UNITED STATES ATTORNEY

                                            /s/Lynne T. Ingram
                                            Lynne T. Ingram
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 Case 3:09-cr-00215       Document 182        Filed 08/04/11     Page 1 of 1 PageID #: 713
